             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:09-cr-00026-MR-DLH


UNITED STATES OF AMERICA,        )
                                 )
     vs.                         )                   ORDER
                                 )
ALVIS GOODMAN.                   )
________________________________ )

     THIS MATTER is before the Court pursuant to 18 United States Code

§ 3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendment 782 (Nov. 1, 2014).

     The Defendant has moved for a reduction of his sentence. [Doc. 519].

The Probation Office has submitted a supplement to the Defendant’s

Presentence Report (“PSR”) in this matter. [Doc. 525]. Based thereon, the

Court determines that the United States Attorney should provide the Court

with its position regarding the PSR supplement.

     IT IS, THEREFORE, ORDERED that no later than thirty (30) days from

the entry of this Order, the United States Attorney shall file pleadings

responsive to the Probation Officer’s PSR supplement filed in this matter.

     IT IS SO ORDERED.




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